404 F.2d 340
    UNITED STATES of America, Plaintiff and Appellee,v.Edwin Walter DUNLAP and Carlton Cozzette Peak, Defendantsand Appellants.
    Nos. 22600, 22600-A.
    United States Court of Appeals Ninth Circuit.
    Nov. 7, 1968, Certiorari Denied March 10, 1969, See 89 S.Ct. 1021.
    
      Claude V. Worrell (argued), Los Angeles, Cal., for Dunlap.
      Sidney Bradpiece (argued), Beverly Hills, Cal., for Peak.
      Jo Ann Diamos (argued), Asst. U.S. Atty., Edward E. Davis, U.S. Atty., Tucson, Ariz., for appellee.
      Before CHAMBERS and BARNES, Circuit Judges, and BYRNE, District Judge.
      PER CURIAM:
    
    
      1
      In this narcotics case, the judgments of conviction are affirmed.
    
    
      2
      Dunlap and Peak were each convicted on a substantive and on a conspiracy count.  Their sentences were wholly concurrent.  There was adequate circumstantial evidence in each case to sustain the conviction beyond a reasonable doubt on the conspiracy counts.  Thus we need not reach the substantive counts.  Ayala v. United States, 9 Cir., 371 F.2d 515.
    
    
      3
      The government contends suppression of evidence on the ground of an illegal search was waived.  Maybe so, but we find no illegal search under the circumstances.  And, it is said there should have been a search warrant.  We find no need for a search warrant.  Before the 'action' began there was no adequate reason for a search warrant, and we find such searching as was done was incident to lawful arrests and there was probable cause for the arrests and searches.
    
    